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            IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF GEORGIA
                      SAVANNAH DIVISION
___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
  v.                                ) No.: 4:22-CR-00016-RSB-CLR
                                    )
KENNETH JACKSON,                    )
   Defendant.                       )
___________________________________ )

 MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS

      COMES NOW the Defendant above-named, by and through undersigned

counsel, and moves this Court to enter an Order allowing an extension of time to file

pretrial motions, in the above-captioned matter. In support thereof, Defendant shows

as follows:

      1. The Defendant’s pretrial motions are currently due on or before July 1,

2022, in the above-captioned matter.

      2. Discovery in this matter is substantial and ongoing, undersigned counsel

anticipates additional discovery to be forthcoming and will need additional time to

review said discovery and to file any pretrial motions on Mr. Jackson’s behalf.

      3. The Defendant requests that the Court grant his request and enter an Order

allowing an additional thirty (30) days from July 1, 2022, in which to file pretrial




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motions and to exclude the amount of time pursuant to the provisions of the Speedy

Trial Act.

      WHEREFORE, based upon the within and foregoing, the Defendant requests

that this Motion for Extension of Time to File Pretrial Motions be granted and to

exclude the time pursuant to the provisions of the Speedy Trial Act pursuant to 18

U.S.C. § 3161 (7)(A).

      This 1st day of July 2022.


                                     Respectfully submitted,


                                     /s/ Bruce S. Harvey
                                     LAW OFFICE OF BRUCE S. HARVEY
                                     ATTORNEY FOR DEFENDANT
                                     Bruce S. Harvey, #335175
                                     bruce@bharveylawfirm.com
                                     146 Nassau Street, NW
                                     Atlanta, Georgia 30303
                                     (404) 659-4628




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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the within and foregoing

Motion for Extension of time to File Pretrial Motions using the Court’s CM/ECF

system which will deliver a copy to all registered to receive service via CM/ECF,

addressed as follows:

                          Jonathan Alan Porter
                          U.S. Attorney's Office - Savannah
                          P.O. Box 8970
                          22 Barnard Street, Suite 300
                          Savannah, GA 3140

      This 1st day of July 2022.



                                       /s/ Bruce S. Harvey
                                       LAW OFFICE OF BRUCE S. HARVEY
                                       ATTORNEY FOR DEFENDANT
                                       Bruce S. Harvey, #335175
                                       bruce@bharveylawfirm.com
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